Case 1:21-cv-01670-JEB Document 35-9 Filed 02/10/23 Page 1 of 3




                           Exhibit H
-01670-JEB Document 35-9 Filed 02/10/23
   f\/t:iv~S         v.    ,4-c '7
   • fl POSTJJL
        UNITED ST/JTES
                SERVICE.
                       EUGENE
               520 WILLAMETTE ST
            EUGENE, OR 97401-2627
 06/23/2021      (800)275-8777
                                    12:19 PM
 ------------------------------------------
 Product
                       Qty    Unit     Price
                             Price
   ----------------------------------------
 First-Class Mal 11    1               $2.20
 Large Envelope
     Washington, DC 20530
     Weight: 0 lb 7.00 02
     Estimated Delivery Date
         Mon 06/28/2021
     Certified Mal lll                 $3.60
         Tracking#:
             70191640000187863043
     Return Receipt                           $2.85
         Tracking#:
             9590 9402 2149 6193 9605 72
 Total                                 $8.65
 First-Class Maile    1                       $2.40
 Large Envelope
     Washington, DC 20310
     Weight: 0 lb 7.50 02
     Estimated Delivery Date
         Tue 06/29/2021
     Certified Mail®                          $3.60
         Tracking#:
             70191640000187863050
     Return Receipt                           $2.85
         Tracking#:
             9590 9402 2149 6193 9605 58
 Total                                 $8.85
 First-Class Maile    1                       $2.20
 Large Envelope
     Washington, DC 20530
     Weight: 0 lb 6.80 02
     Estimated Delivery Date
  ---> Mon 06/28/2021
     Certified Mai 18                         $3.60
         Tracking#:
     - - 70191640000187863036
     Return Receipt                           $2. 85
         Tracktng #:
   ---""7' 9590 9402 2149 6193 9605 89
 Total                                        $8.65

 G;~~d-r~~;i~-                            $26.15
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 Debit Card Remitted                $26.15
     Card Name: VISA
    Account#: XXXXXXXXXXXX9000
    Approval #: 002539
    Transaction#: 446
    Receipt#: 019939
    Debit Card Purchase: $26.15 Chip
     AID: A0000000980840
     AL: US DEBIT
     PIN: Verified                   ____ _
                               Case 1:21-cv-01670-JEB Document 35-9 Filed 02/10/23 Page 3 of 3




           U.S. Postal Service™                                                                                                                   U.S. Postal Service™
           CERTIFIED MAIL® RECEIPT                                                                                                       rr,      CERTIFIED MAIL® RECEIPT
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